Case 2:15-ml-02668-PSG-SK Document 765 Filed 12/06/22 Page 1 of 4 Page ID #:24396



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        [Additional Counsel on Signature Page]
   10
        Plaintiffs’ Co-Lead Counsel
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   12                        UNITED STATES DISTRICT COURT
   13                       CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668−PSG (JEMx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
   17
                                                 PLAINTIFFS’ NOTICE OF
   18   THIS DOCUMENT RELATES TO ALL             MOTION AND MOTION TO
        ACTIONS                                  DISQUALIFY NFL EXPERT DR.
   19                                            ALI YURUKOGLU
   20                                            JUDGE: Hon. Philip S. Gutierrez
                                                 DATE: January 27, 2023
   21                                            TIME: 1:30 p.m.
                                                 COURTROOM:
   22                                                First Street Courthouse
                                                     350 West 1st Street
   23                                                Courtroom 6A
                                                     Los Angeles, CA 90012
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        11125848v1/014918
Case 2:15-ml-02668-PSG-SK Document 765 Filed 12/06/22 Page 2 of 4 Page ID #:24397




    1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
    2           PLEASE TAKE NOTICE that on January 27, 2023, at 1:30 p.m., or as soon
    3   thereafter as counsel may be heard, in the courtroom of the Honorable Philip S.
    4   Gutierrez, Chief United States District Judge, Courtroom 6A, United States
    5   Courthouse, 350 West 1st Street, Los Angeles, CA 90012, Plaintiffs will and
    6   hereby do move for an order disqualifying NFL expert witness Dr. Ali Yurukoglu.
    7   In addition, Plaintiffs seek an order compelling the NFL to produce its
    8   communications with Dr. Yurukoglu and to permit a second deposition of Dr.
    9   Yurukoglu limited to the issues raised in this motion.
   10           This motion is based upon this notice, the concurrently filed memorandum of
   11   points and authorities, the exhibits and declarations submitted in connection thereto,
   12   the pleadings, documents, and records on file in this action, any argument that may
   13   be presented to the Court on this motion, and such other matters as the Court deems
   14   appropriate.
   15           This motion is made following the conference of counsel pursuant to the
   16   meet and confer requirements of Local Rule 7-3 that took place on November 28,
   17   2022. 1
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   19
            Dated: December 2, 2022            Respectfully submitted,
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   21                                          By:      /s/ Edward Diver
   22                                                   Edward Diver

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         Due to the unavailability of counsel to hold the meet and confer on November 25,
        2022 in light of the Thanksgiving holiday, the parties agreed to conduct the meet
   28   and confer on November 28, 2022. Plaintiffs have been advised by the NFL
        Defendants that they agree that the parties have complied with Local Rule 7-3.
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        11125848v1/014918
Case 2:15-ml-02668-PSG-SK Document 765 Filed 12/06/22 Page 3 of 4 Page ID #:24398



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        11125848v1/014918
Case 2:15-ml-02668-PSG-SK Document 765 Filed 12/06/22 Page 4 of 4 Page ID #:24399



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